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                       UNITED STATES DISTRICT COURT
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                            DISTRICT OF NEVADA
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 9    UNITED STATES OF AMERICA,                   )
                                                  ) 2:08-cr-288-PMP-RJJ
10                          Plaintiff,            )
                                                  )
11           vs.                                  )
                                                  ) ORDER GRANTING SECOND EXTENSION
12                                                ) OF TIME TO RESPOND TO PETITION FOR
      LADON MCCLELLAN,                            ) WRIT OF ERROR CORAM NOBIS
13                                                )
                            Defendant.            )
14                                                )

15           Based on the pending application of the Government, and good cause appearing,

16           IT IS THEREFORE ORDERED that the that the Government’s response to Defendant’s

17    petition for writ of coram nobis is due November 11, 2012.

18           DATED: this _____
                          22ndday
                               dayofofOctober,
                                       October,2012.
                                                 2012.
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20                                                  ________________________________
                                                    UNITED STATES DISTRICT JUDGE
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